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                                                  April 9, 2025


VIA ECF

The Honorable Matthew F. Kennelly, U.S.D.J.
Everett McKinley U.S. Courthouse
219 South Dearborn Street
Chicago, IL 60604

                RE:      In re Multiplan Health Insurance Provider Litigation,
                         No. 1:24-cv-06795 (MFK)

Dear Judge Kennelly,

        So that we may complete active internal discussions and allow time for Interim Class and
Defense counsel to review our proposal, Plaintiffs’ Coordinating Counsel and the Direct Action
Plaintiffs Executive Committee respectfully request a two-week extension through April 28,
2025 to submit a proposed Common Benefit Order. Interim Class Counsel do not oppose this
request and will submit their proposal on the same schedule, if the Court grants the
extension. Defendants do not oppose the requested extension.

                                                      Respectfully submitted,

                                                      /s/ Christopher A. Seeger
                                                      Christopher A. Seeger



ECF: Counsel of Record




         55 Challenger Road • Ridgefield Park, NJ 07660 • T: 973.639.9100 • F: 973.639.9393 • seegerweiss.com
